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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

 ANDREW R. PERRONG                            )
 1657 The Fairway #131 Jenkintown, PA 19046   )
                                              )
                                              )
                   Plaintiff,                 )   Civil Action
                      vs.                     )   No.__________________
                                              )
ADVANCED BROKERAGE CONCEPTS LLC               )
D/B/A ABC INSURANCE                           )
2205 MT CARMEL AVE                            )
GLENSIDE, PA 19038,                           )
                                              )
JACQUELINE PRESTON,                           )
Individually and as Principal of ABC,         )
2205 MT CARMEL AVE,                           )
GLENSIDE, PA 19038,                           )
                                              )
MARGARET MARY GRABER                          )
Individually and as Agent of ABC,             )
3370 KAYFORD CIR.                             )
PHILADELPHIA, PA 19114                        )
                                              )
FRANCIS X. VAHEY                              )
Individually and as Principal of ABC          )
40 MORRIS RD,                                 )
AMBLER, PA 19002,                             )
                                              )
DAVID A VAHEY                                 )
Individually and as Principal of ABC          )
3422 LARCH RD                                 )
HUNTINGDON VALLEY, PA 19006,                  )
                                              )
NATIONWIDE MUTUAL                             )
INSURANCE COMPANY                             )
One Nationwide Plaza                          )
COLUMBUS, OH 43215,                           )
                                              )
The Travelers Indemnity Company               )
One Tower Square                              )
Hartford, CT 06183                            )
                                              )
                                              )
                                              )
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The Progressive Corporation                             )
6300 Wilson Mills Road                                  )
Mayfield Village, Ohio 44143                            )
                                                        )
Progressive Casualty Insurance Company                  )
6300 Wilson Mills Road                                  )
Mayfield Village, Ohio 44143                            )
Progressive Specialty Insurance Agency, Inc             )
6300 Wilson Mills Road                                  )
Mayfield Village, Ohio 44143                            )
                                                        )
ARX Holding Corp.                                       )
2 ASI Way                                               )
St. Petersburg, FL 33702                                )
                                                        )
and                                                     )
DOES 1 through 100, inclusive,                          )
                                                        )
                       Defendants.                      )      Jury Trial Demanded
                                                        )


       Plaintiff ANDREW R. PERRONG brings this action for damages, restitution,

reinstatement, statutory damages, punitive damages, sanctions, interest, court costs, and

injunctive relief under rights pursuant to Federal Statute under 47 U.S.C. 227, and 47 C.F.R. 64

for the ultra vires illegal actions and deliberate and knowing tortious activity of ADVANCED

BROKERAGE CONCEPTS LLC (“ABC”), JACQUELINE PRESTON, MARGARET MARY

GRABER, FRANCIS X. VAHEY, and DAVID A VAHEY, Individually and as Principals of

ABC (“PRESTON” and “VAHEY”), NATIONWIDE MUTUAL INSURANCE COMPANY

(“NATIONWIDE”), THE TRAVELERS INDEMNITY COMPANY (“TRAVELERS”), THE

PROGRESSIVE CORPORATION, PROGRESSIVE CASUALTY INSURANCE COMPANY,

AND PROGRESSIVE SPECIALTY INSURANCE AGENCY, INC (TOGETHER,

“PROGRESSIVE”), ARX HOLDING CORP (“ARX”), and Does 1 through 100, inclusive, in

negligently and/or willfully contacting Plaintiff via Plaintiff’s telephone to solicit sales (“Sales

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Calls”), by utilization of an automatic telephone dialing system and/or robocalls (“ATDS Calls”),

in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. and related

claims that form part of the same claim or controversy. Plaintiff demands a trial by jury, and

complains and alleges as follows:

                                       I.      Introduction

       1. Defendant ADVANCED BROKERAGE CONCEPTS LLC (“ABC”) is a company

located and domestically incorporated in the State of Pennsylvania, that markets and sells, inter

alia, Nationwide insurance products to individuals throughout Pennsylvania and other states in

the US. Its principal mailing address and address for service of process is located at 2205 MT

CARMEL AVE. GLENSIDE, PA 19038.

       2. Plaintiff brings this action to challenge the ABC’s practices in the telephone

solicitation of their products and services. Specifically, Plaintiff challenges ABC’s and ABC’s

agents’ illegal telephone solicitations by which they market their products and services, illegal

Calls made using an automatic telephone dialing system and robocalls, and failure to maintain a

Do-Not-Call policy or list in connection therewith.

       3. All of the claims asserted herein arise out of ABC’s illegal telephone solicitation

campaign and are a common fact pattern.

                                     Jurisdiction and Venue

       4. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.

       5. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), in that

Defendants conduct business in, and a substantial part of the events giving rise to plaintiff’s

claims occurred in, Pennsylvania’s Montgomery County, which lies within this judicial district,

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pursuant to 28 U.S.C. §118. Plaintiff received the phone calls to a 215-area code number,

registered in this judicial district. Each of the Defendants has sufficient minimum contacts with

this District, and otherwise purposely avail themselves of the markets in this District. In fact,

Defendant ABC is domestically incorporated in PA and is licensed to sell insurance in PA,

including within this district. Also, see Lary V. The Doctors Answer, LLC CV-12-S-3510-NE

(N.D. Ala. March 8, 2013.), a Federal Telephone Consumer Protection Act case, which held that

“venue is proper in the district where [plaintiff] resides because the injury did not occur when the

facsimile was sent… ; it occurred when the [facsimile] was received.”

                                           II.     Parties

       6. Plaintiff ANDREW PERRONG (“Plaintiff”) is an individual who received the

alleged phone calls on his private telephone line mentioned herein. Plaintiff is an adult individual

and citizen of the Commonwealth of Pennsylvania who may be mailed at 1657 The Fairway

#131 Jenkintown, PA 19046.

       7. Defendant ADVANCED BROKERAGE CONCEPTS LLC (“ABC”), is a company

located and domestically incorporated in the State of Pennsylvania, that markets and sells, inter

alia, Nationwide insurance products to individuals throughout Pennsylvania and other states in

the US. Its principal mailing address and address for service of process is located at 2205 MT

CARMEL AVE. GLENSIDE, PA 19038.

       8. Defendant JACQUELINE PRESTON (“PRESTON”) is an adult individual who is the

Primary Owner and President / CEO / Principal of ABC. PRESTON is an adult individual, and

citizen of the United States. As Principal of ABC, PRESTON is the primary individual who

reaps the benefit of the tortious and illegal conduct described herein that is technically carried




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out only in ABC’s name. Such tortious, or ultra vires, conduct exceeds the permissible actions of

corporations both in Pennsylvania, and nationwide.

       9. Defendant MARGARET MARY GRABER (“GRABER”) is an adult individual who

is a licensed insurance agent of ABC. GRABER is an adult individual, and citizen of the United

States. As Agent of ABC, GRABER is the primary individual who reaps the benefit of policies

sold through illegal telemarketing that is technically carried out only in ABC’s name. Such

tortious, or ultra vires, conduct exceeds the permissible actions of corporations both in

Pennsylvania, and nationwide.

       10. Defendant FRANCIS X. VAHEY (“VAHEY”) is an adult individual who is a

Managing Officer/Principal of ABC. VAHEY is an adult individual, and citizen of the United

States. As managing officer of ABC, VAHEY is the primary individual associated with the

license for ABC who reaps the benefit of the tortious and illegal conduct described herein that is

technically carried out only in ABC’s name. Such tortious, or ultra vires, conduct exceeds the

permissible actions of corporations both in Pennsylvania, and nationwide.

       11. Defendant DAVID A VAHEY (“VAHEY”) is an adult individual who is the

Primary Owner of ABC. In fact, VAHEY has registered the name, “Advanced Brokerage

Concepts” to himself as a fictitious name, in addition to the LLC being sued, operating out of the

same address, thus affirmatively establishing personal liability for the actions that are

complained of that are carried out by ABC. VAHEY is an adult individual, and citizen of the

United States. As Principal of ABC, VAHEY is the primary individual who reaps the benefit of

the tortious and illegal conduct described herein that is technically carried out only in ABC’s

name. Such tortious, or ultra vires, conduct exceeds the permissible actions of corporations both

in Pennsylvania, and nationwide.

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        12. Defendant NATIONWIDE MUTUAL INSURANCE COMPANY

(“NATIONWIDE”), is the holding corporation for multiple NATIONWIDE corporations,

including the primary corporation with which ABC transacts business and, upon information and

belief, is an agent and franchisor. NATIONWIDE also contracts and conspires with defendant

ABC to place calls to customers in violation of the TCPA on NATIONWIDE’s behalf, using

NATIONWIDE’s name. NATIONWIDE reaps the benefit of the tortious and illegal conduct

described herein. Such tortious, or ultra vires, conduct exceeds the permissible actions of

corporations both in Pennsylvania, Ohio, and nationwide (no pun intended). Defendant

NATIONWIDE is vicariously liable for actions of ABC under the Apparent Authority and

Ratification theories of vicarious liability.

        13. Defendant The Travelers Indemnity Company (“Travelers”), is the holding

corporation for multiple Travelers corporations, including the primary corporation with which

ABC transacts business and, upon information and belief, is an agent and franchisor. Travelers

also contracts and conspires with defendant ABC to place calls to customers in violation of the

TCPA on Traveler’s behalf, using Traveler’s name. Travelers reaps the benefit of the tortious

and illegal conduct described herein. Such tortious, or ultra vires, conduct exceeds the

permissible actions of corporations both in Pennsylvania, Connecticut, and nationwide.

Defendant Travelers is vicariously liable for actions of ABC under the Apparent Authority and

Ratification theories of vicarious liability.

        14. Defendant The Progressive Corporation (“PROGRESSIVE”), is the holding

corporation for multiple PROGRESSIVE corporations, including the primary corporations with

which ABC transacts business and, upon information and belief, is an agent and franchisor.

These corporations include Progressive Casualty Insurance Company, and Progressive Specialty

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Insurance Agency, Inc. PROGRESSIVE also contracts and conspires with defendant ABC to

place calls to customers in violation of the TCPA on PROGRESSIVE’s behalf, using

PROGRESSIVE’s name. PROGRESSIVE reaps the benefit of the tortious and illegal conduct

described herein. Such tortious, or ultra vires, conduct exceeds the permissible actions of

corporations both in Pennsylvania, Ohio, and nationwide. Defendant PROGRESSIVE is

vicariously liable for actions of ABC under the Apparent Authority and Ratification theories of

vicarious liability.

        15. Defendant ARX Holding Corp. (“ARX”), is the holding corporation for multiple

ARX corporations, including the primary corporation with which ABC transacts business and,

upon information and belief, is an agent and franchisor. ARX also contracts and conspires with

defendant ABC and PROGRESSIVE to place calls to customers in violation of the TCPA on

ARX’s behalf, using ARX’s name and by underwriting policies issued by PROGRESSIVE.

ARX reaps the benefit of the tortious and illegal conduct described herein. Such tortious, or ultra

vires, conduct exceeds the permissible actions of corporations both in Pennsylvania, Florida, and

nationwide. Defendant PROGRESSIVE is vicariously liable for actions of ABC under the

Apparent Authority and Ratification theories of vicarious liability.

        16. Except as described herein, Plaintiff is ignorant of the true names of Defendants sued

as Does 1 through 100, inclusive, and the nature of their wrongful conduct, and therefore sues

these Defendants by such fictitious names. Plaintiff will seek leave of the Court to amend this

complaint to allege their true names and capacities when ascertained.

        17. At all times herein mentioned, ABC, PRESTON, GRABER, VAHEY, VAHEY,

NATIONWIDE, TRAVELERS, PROGRESSIVE, ARX, and the Doe Defendants, (collectively,

“Defendants”), and each of them, were an agent or joint venture of each of the other, and in

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doing the acts alleged herein, were acting within the scope of such agency. Each Defendant had

actual and/or constructive knowledge of the acts of each of the other Defendants, and ratified,

approved, joined in, acquiesced and/or authorized the wrongful acts of each co-Defendant,

and/or retained the benefits of said wrongful acts.

       18. Defendants, and each of them, aided and abetted, encouraged and rendered substantial

assistance to the other Defendants in committing the wrongful acts alleged herein. In taking

action, as particularized herein, to aid and abet and substantially assist the commission of these

wrongful acts and other wrongdoing complained of each of the Defendants acted with an

awareness of its primary wrongdoing and realized that its conduct would substantially assist the

accomplishment of the wrongful conduct, wrongful goals, and wrongdoing.

       19. At all times herein mentioned, Defendants conspired by means of mutual

understanding, either expressly or impliedly, among themselves and others in engaging and/or

planning to engage in the activities detailed herein to accomplish the wrongful conduct, wrongful

goals, and wrongdoing.

       20. The TCPA imposes personal liability on individuals who participate in or commission

telemarketing calls.

       21. Under the TCPA, an individual such as PRESTON, GRABER, VAHEY, or VAHEY

may be personally liable for the acts alleged in this Complaint pursuant to 47 U.S.C. § 217, the

Communications Act of 1934, as amended, of which the TCPA is a part, which reads, inter alia:

“[T]he act, omission, or failure of any agent, or other person acting for or employed by any

common carrier or user, acting within the scope of his employment, shall in every case be




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deemed to be the act, omission, or failure of such carrier or user as well as of that person.” 47

U.S.C. § 217 (emphasis added).

        22. When considering individual officer liability, other Courts have agreed that a

Corporate officer involved in the telemarketing at issue may be personally liable under the

TCPA. See, e.g., Jackson v. Five Star Catering, Inc., v. Beason, 2013 U.S. Dist. LEXIS 159985,

*10 (E.D. Mich. Nov. 8, 2013), which stated that “[M]any courts have held that corporate actors

can be individually liable for violating the TCPA where they ‘had direct, personal participation

in or personally authorized the conduct found to have violated the statute.’” See also Maryland v.

Universal Elections, 787 F. Supp. 2d 408, 415-16 (D. Md. 2011), stating that “If an individual

acting on behalf of a corporation could avoid individual liability, the TCPA would lose much of

its force.”

        23. Defendants PRESTON, GRABER, VAHEY, and VAHEY are personally liable

under the “participation theory” of liability because are the Principal owners and controlling

officers of ABC, knew of ABC’s violations, and directed employees and/or agents of ABC to

continue making those violations. Furthermore, PRESTON, GRABER, VAHEY, and VAHEY

are personally liable because they are personally responsible for ensuring ABC’s employees’

TCPA compliance and reap personal benefit from the TCPA violations alleged.

                                    III.    Factual Allegations

        24. In or about June 13th , 2016, Plaintiff received the first of multiple calls made

using an automatic telephone dialing system (“ATDS”) or robocall by Defendants and/or their

agents at Plaintiff’s personal telephone number, 215-947-1920, for which he is charged for the

call under a package calling arrangement. Plaintiff had not consented to this solicitation, and

Plaintiff’s telephone number was on the Federal Do-Not-Call Registry.

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        25. Plaintiff spoke to the Agent that answered, SUSAN MAMROL (“Agent”) in order to

ascertain Company’s true identity, and for no other reason. MAMROL confirmed the call to be

coming from Advanced Brokerage Concepts in Glenside.

        26. The unsolicited telephone call transmitted the caller ID information of 215-487-1196.

        27. Shortly thereafter, Plaintiff telephoned and e-mailed defendant DAVID A VAHEY,

who instructed him to contact either defendant FRANCIS X. VAHEY or defendant

JACQUELINE PRESTON to resolve the matter.

        28. Plaintiff contacted defendant JACQUELINE PRESTON on or about June 15, 2016,

and told her the call was illegal. PRESTON verified that the call took place and was from her

company, but claimed that she did not know about the federal regulations surrounding

telemarketing. Plaintiff took the time to educate defendant PRESTON, and requested that he be

placed on ABC’s do-not-call list. PRESTON said she would do that, but also did not provide a

do-not-call policy, because, upon information and belief, one does not exist.

        29. Despite this request and education, Plaintiff received a call from 800-266-9600, less

than a year later, on May 24, 2017. This 800 number is the 800 number for defendant ABC and

is prominent in ABC’s advertising and is plastered on ABC’s building in Glenside.

        30. During that call, Plaintiff spoke to “KATIE” from “Traveler’s Insurance” in Glenside.

Upon information and belief, ABC sells Traveler’s Insurance alongside Nationwide insurance

and Progressive insurance. Plaintiff indicated he was not interested and not to be called, and

“KATIE” stated that she would place Plaintiff on ABC’s do-not-call list.

        31. Despite these two clear instructions not to be contacted, Plaintiff received yet another

call from 800-266-9600 on June 19, 2018. This is the same telephone number as the previous

call.

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        32. During that call, Plaintiff spoke to “KATE” from “Nationwide Insurance” in

Glenside. Plaintiff asked for the location of the office, and “KATE” told him it was on Mt.

Carmel Ave. in Glenside, next to the barbershop. Plaintiff is familiar with the area and knew that

that “Kate” was describing 2205 Mt. Carmel Ave. To make sure “KATE” was actually calling

for ABC and Nationwide and not some impostor, Plaintiff provided a vehicle of a 2015 Hyundai

Sonata during the call. In addition, Plaintiff provided his e-mail, and “KATE” said Plaintiff

would receive an e-mail from “Peggy”. All this was done to receive an insurance quote to verify

the identity of the caller, and for no other reason.

        33. On June 21, 2018, Plaintiff received an e-mail from defendant PEGGY

(MARGARET MARY) GRABER (peg@abcinsco.com) at “Advanced Brokerage Concepts”

clearly indicating a quote for a Traveler’s automobile policy and a Progressive homeowner’s

policy, which is clearly “underwritten by ASI.” ASI is a wholly-owned subsidiary of defendant

ARX. The quotes clearly match the information provided during the call and indicate the

telephone number through which Plaintiff received the calls, 215-947-1920, and the fact that

Advanced Brokerage Concepts is the broker. Note that the e-mail seems to be a form email,

referencing a “request this morning,” despite the call being from 2 days prior (Plaintiff also notes

that the date and time on the Progressive application is 6/20/2018 3:46PM, presumably when

ABC/GRABER entered the information into their system after the call). A true and correct copy

(with redactions of sensitive information) of the e-mail and the quotes are attached to this suit as

EXHIBIT A.

        34. Based on Defendants’ complete and blatant disregard for the TCPA and the Federal

Do-Not-Call Registry, it is evident that Defendants have no such internal do-not-call lists or

policies, and it is evident that such lists or policies do not exist.

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       35. As more fully outlined above, Defendants refused to place Plaintiff on their Do-Not-

Call list or provide Plaintiff a copy of their Do-Not-Call policy. Based on Defendant’s own

admissions, they evidently do not have such lists or policies.

       36. Plaintiff has never had Traveler’s insurance, Nationwide insurance, Progressive

insurance, ASI/ARX insurance, or done any business with ABC.

       37. Plaintiff alleges, upon information and belief, that Defendants used an Automatic

Telephone Dialing System (“ATDS” or “autodialer”), as that term is defined in 47 U.S.C. §

227(a)(1), to place each of the calls in question. This is due to the delay and machine noise prior

to a party coming onto the calls, the vast different (and one toll-free) telephone numbers used to

contact Plaintiff, the obvious fact that Defendants were calling from some sort of list, in addition

to the volume of calls and the inattention and carelessness with which the calls were placed en

masse to the Plaintiff without regard for the TCPA or requests not to be contacted. Because this

is an evidentiary issue, Plaintiff intends to rely on an expert witness and discovery to further

demonstrate that Defendants used an ATDS to contact Plaintiff in each of the calls in question.

Additionally, Plaintiff notes that the definition of an ATDS is undergoing major regulatory

rulemaking as well as new law, which is likely to expand the number of telephone systems and

devices that qualify as an ATDS.

       38. NATIONWIDE, TRAVELERS, PROGRESSIVE, and ARX (Collectively,

“INSURERS”) are vicariously liable for the calls under the apparent authority standard of

vicarious liability as INSURERS, upon information and belief, authorize ABC to make calls on

INSURERS’ behalf, and grant ABC (1) access to information and systems, (2) the ability of

ABC to enter consumer information into shared databases, (3) the right to market INSURERS’

products and services under their respective brand names, and (4) the authority to use their

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names and logos in their advertising, promotions, and illegal telemarketing. With the exception

of NATIONWIDE, the INSURERS’ names, logos, and branding were listed on the quotes sent to

Plaintiff that were obtained directly as the result of illegal telemarketing. INSURERS are also

vicariously liable under the ratification standard of vicarious liability, as INSURERS ratified and

acquiesced to the activity of ABC in making the calls and gave permission to use their brand

names in the calls and quotes. INSURERS continue to acquiesce to the activity of its agents in

violating the TCPA despite clear flagrant disregard of its Agents’ violation of the TCPA.

       39. Plaintiff received the calls on his private telephone, for which he is charged for the

calls, as defined and set forth in 47 CFR § 64.1200(a)(1)(iii).

       40. The TCPA makes it unlawful “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using an

automatic telephone dialing system or an artificial or prerecorded voice… to any telephone

number assigned to… any service for which the called party is charged for the call.” See 47

U.S.C. § 227(b)(1)(A)(iii). As stated immediately above, the calls were placed using an

automatic telephone dialing system to Plaintiff’s private telephone line, on which he is charged

for the call under a package arrangement.

       41. The TCPA provides a private cause of action to persons who receive calls in

violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

       42. Plaintiff was harmed by the calls. He was temporarily deprived of legitimate use of

his phone because his phone line was tied up, he wasted energy and stress in answering a

seemingly urgent call, his telephone batteries were depleted, he was charged for the calls, and his

privacy was improperly invaded. Moreover, the calls injured plaintiff because they were

frustrating, obnoxious, annoying, were a nuisance and disturbed the solitude of Plaintiff.

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       43. Plaintiff adequately confirmed corporate identity for each and every call so as to

establish liability of Defendants, as more fully outlined above.

       44. These telephone solicitations constituted “calls” under the TCPA that were not for

emergency purposes.

       45. Plaintiff did not provide any one, more, or all Defendants, nor any agent of

Defendants, prior express written consent, or any other form of consent, express or implied, to

cause Plaintiff to receive telephone calls on his personal telephone that utilized an “automatic

telephone dialing system” or otherwise to transmit a message or make calls.

       46. As a point of fact, to the extent that “consent” was supplied during the calls, that was

done in order to discover the identity of the caller and for no other reason. Courts have held this

to be legitimate and have not held such "consent" to be detrimental to a plaintiff bringing a

TCPA action. See for instance, Bank v. Caribbean Cruise Line, which held that "Purporting to

obtain consent during the call, such as requesting that a consumer "press 1" to receive further

information, does not constitute the prior consent necessary to deliver the message in the first

place, as the request to "press 1" is part of the telemarketing call.... As the FCC has stated, the

consent must be made before the call."

       47. Plaintiff had no prior business relationship with any one, more, or all of Defendants.

       48. The telephone Sales Calls therefore violated 47 U.S.C. § 227(b)(1)(A), 47

U.S.C. § 227(c)(3)(F), 47 CFR 64.1200(d)(1), 47 CFR 64.1200(d)(3), 47 CFR §

64.1200(a)(1)(iii), 47 CFR § 64.1200(a)(1), and 47 C.F.R. 64.1200(c)(2).

                                     IV.     Causes Of Action

                                       First Cause of Action

            (Negligent Violation of the TCPA “ATDS” Prohibition, 47 U.S.C. § 227 et seq.)

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       49. Plaintiff incorporates and realleges, as though fully set forth herein, each of the

paragraphs above.

       50. As a result of Defendants’ and Defendants’ agents negligent violations of 47 U.S.C.

§ 227(b)(1)(A), Plaintiff seeks for himself $500.00 in statutory damages, for each and every

violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

       51. Pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiff seeks injunctive relief prohibiting

such conduct in the future.

                                     Second Cause of Action

                        (Knowing and/or Willful Violation of the TCPA
                         “ATDS” Prohibition, 47 U.S.C. § 227 et seq.)
       52. Plaintiff incorporates and realleges, as though fully set forth herein, each of the

paragraphs above.

       53. As a result of Defendants’ and Defendants’ agents knowing and/or willful violations

of 47 U.S.C. § 227(b)(1)(A), Plaintiff seeks for himself treble damages, as provided by statute,

up to $1,500.00 for each and every violation, pursuant to 47 U.S.C. § 227(b)(3).

       54. Pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiff seeks injunctive relief prohibiting

such conduct in the future.

                                     Third Cause of Action

   (Negligent Violation of the TCPA “Sales Call/DNC” Prohibition, 47 U.S.C. § 227 et seq.)

       55. Plaintiff incorporates and realleges, as though fully set forth herein, each of the

paragraphs above.

       56. As a result of Defendants’ and Defendants’ agents negligent violations of 47 U.S.C.



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§ 227(c)(3)(F), and 47 C.F.R. 64.1200(c)(2), Plaintiff seeks for himself $500 in statutory

damages for each and every violation, pursuant to 47 U.S.C. § 227(c)(3)(F).

       57. Pursuant to 47 U.S.C. § 227(c)(5)(A), Plaintiff seeks injunctive relief prohibiting

such conduct in the future.

                                     Fourth Cause of Action

                         (Knowing and/or Willful Violation of the TCPA
                      “Sales Call/DNC” Prohibition, 47 U.S.C. § 227 et seq.)

       58. Plaintiff incorporates and realleges, as though fully set forth herein, each of the

paragraphs above.

       59. As a result of Defendants’ and Defendants’ agents knowing and/or willful violations

of 47 U.S.C. § 227(c)(3)(F), and 47 C.F.R. 64.1200(c)(2), Plaintiff seeks for himself treble

damages, as provided by statute, up to $1,500.00 for each and every violation, pursuant to 47

U.S.C. § 227(c)(5).

       60. Pursuant to 47 U.S.C. § 227(c)(5)(A), Plaintiff seeks injunctive relief prohibiting

such conduct in the future.

                                      Fifth Cause of Action
(Negligent Violation of the TCPA “Do-Not-Call Policy” Requirement, 47 CFR 64.1200 et seq.)

       1. Plaintiff incorporates and realleges, as though fully set forth herein, each of the

paragraphs above.

       2. As a result of Defendants’ and Defendants’ agents negligent violations of 47 CFR

64.1200(d)(1), Plaintiff seeks for himself $500 in statutory damages for each and every violation,

pursuant to the implied private right of action.


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                                      Sixth Cause of Action
                         (Knowing and/or Willful Violation of the TCPA
                    “Do-Not-Call Policy” Requirement, 47 CFR 64.1200 et seq.)

       3. Plaintiff incorporates and realleges, as though fully set forth herein, each of the

paragraphs above.

       4. As a result of Defendants’ and Defendants’ agents knowing and/or willful violations

of 47 CFR 64.1200(d)(1) Plaintiff seeks for himself treble damages, as implied, up to $1,500.00

for each and every violation, pursuant to the implied private right of action.

                                     Seventh Cause of Action

  (Negligent Violation of the TCPA “Do-Not-Call List” Requirement, 47 CFR 64.1200 et seq.)

       5. Plaintiff incorporates and realleges, as though fully set forth herein, each of the

paragraphs above.

       6. As a result of Defendants’ and Defendants’ agents negligent violations of 47 CFR

64.1200(d)(3), Plaintiff seeks for himself $500 in statutory damages for each and every violation,

pursuant to the implied private right of action.

                                    Eighth Cause of Action
                         (Knowing and/or Willful Violation of the TCPA
                     “Do-Not-Call List” Requirement, 47 CFR 64.1200 et seq.)

       7. Plaintiff incorporates and realleges, as though fully set forth herein, each of the

paragraphs above.

       8. As a result of Defendants’ and Defendants’ agents knowing and/or willful violations

of 47 CFR 64.1200(d)(3) Plaintiff seeks for himself treble damages, as implied, up to $1,500.00

for each and every violation, pursuant to the implied private right of action.


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WHEREFORE, Plaintiff prays for relief against defendants, and each of them, as follows:

                                   V.      Prayer for Relief

On Causes of Action 1-8:

       1. For awards of $500 for each negligent violation as set forth in actions 1-8;

       2. For awards of $1,500 for each knowing/willful violation as set forth in actions 1-8.

       3. Injunctive relief against Defendants, and each of them, to prevent future wrongdoing;

Total statutory damages: : $18,000 (Three counts each of: sales call, ATDS call, failure to put

Plaintiff’s number on Defendants’ Do-Not-Call list, and failure to provide Plaintiff a copy of

Defendants’ Do-Not-Call policy, at $500 per count of each, with treble damages for each.)

       4. Punitive damages to punish Defendants for their willful, illegal, and deliberate

tortious conduct and to deter others who may otherwise engage in similar willful illegal and

deliberate tortious conduct;

       5. Prejudgment interest at the maximum legal rate;

       6. Costs of suit herein incurred; and

       7. All such other and further relief as the Court deems proper.




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